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UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF IDAHO

 

 

UNITED STATES OF AMERICA, ~ —
Case Nol:R = 2 f= I WET
Mom TRY
Plaintiff,
INDICTMENT
vs.
18 U.S.C. § 1001(a)(2)
CHRISTEN MEEKS,
Defendant.
The Grand Jury charges:

COUNT 1

False Statement or Representation Made to an Agency
18 U.S.C. § 1001(a)(2)

On or about August 15, 2019, in the District of Idaho, the defendant, CHRISTEN
MEEKS, did willfully and knowingly make a materially false, fictitious, and fraudulent
statement and representation in a matter within the jurisdiction of the executive branch of the

Government of the United States, by stating to Deputy United States Marshal Ryan Weishaar,

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that she had not seen a wanted subject, Samiir Afraid of Bear, and that he was not in her
residence, which she then knew to be false because she had allowed him to enter her residence,
in violation of Title 18, United States Code, Section 1001(a)(2).

Dated this day of February, 2020.

A TRUE BILL

/s/ [signature on reverse]

 

FOREPERSON

BART M. DAVIS
UNITED STATES ATTORNEY

By:
My 4 zy LL
K B. HAYCOCK
ASSISTANT UNITED STATES ATTORNEY

INDICTMENT - 2

 
